               Case 24-11836-amc                   Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                               Desc Main
                                                                Document     Page 1 of 70

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Daniel
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        James
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Carroll
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any     Daniel J. Carroll
     assumed, trade names and Daniel Carroll
     doing business as names. Dan Carroll
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8459
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
              Case 24-11836-amc                 Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                              Desc Main
                                                            Document     Page 2 of 70
Debtor 1   Daniel James Carroll                                                                      Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 349 Croton Road
                                 Wayne, PA 19087
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Chester
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case 24-11836-amc                  Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                Desc Main
                                                              Document     Page 3 of 70
Debtor 1    Daniel James Carroll                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 24-11836-amc                  Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                             Desc Main
                                                               Document     Page 4 of 70
Debtor 1    Daniel James Carroll                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
              Case 24-11836-amc                    Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                             Desc Main
                                                               Document     Page 5 of 70
Debtor 1    Daniel James Carroll                                                                       Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 24-11836-amc                 Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                     Desc Main
                                                            Document     Page 6 of 70
Debtor 1    Daniel James Carroll                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Daniel James Carroll
                                 Daniel James Carroll                                              Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 30, 2024                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
              Case 24-11836-amc                   Doc 1          Filed 05/30/24 Entered 05/30/24 10:12:39                            Desc Main
                                                                 Document     Page 7 of 70
Debtor 1   Daniel James Carroll                                                                           Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ William D. Schroeder, Jr.                                      Date         May 30, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                William D. Schroeder, Jr. 40971
                                Printed name

                                William D. Schroeder, Jr.
                                Firm name

                                920 Lenmar Drive
                                Blue Bell, PA 19422
                                Number, Street, City, State & ZIP Code

                                Contact phone     (215) 822-2728                             Email address         schroeder@jrlaw.org
                                40971 PA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 24-11836-amc                           Doc 1          Filed 05/30/24 Entered 05/30/24 10:12:39                                               Desc Main
                                                                         Document     Page 8 of 70
Fill in this information to identify your case:

Debtor 1                   Daniel James Carroll
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              79,965.95

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              79,965.95

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              60,567.02

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             619,874.16

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          4,959,766.52


                                                                                                                                    Your total liabilities $             5,640,207.70


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                8,867.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,792.77

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
           Case 24-11836-amc                  Doc 1      Filed 05/30/24 Entered 05/30/24 10:12:39                           Desc Main
                                                         Document     Page 9 of 70
Debtor 1    Daniel James Carroll                                                        Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
              Case 24-11836-amc                 Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                    Desc Main
                                                            Document      Page 10 of 70
Fill in this information to identify your case and this filing:

Debtor 1                    Daniel James Carroll
                            First Name               Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       EASTERN DISTRICT OF PENNSYLVANIA

Case number                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Ford                              Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      F250                                 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2019                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           43,353            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another


                                                           Check if this is community property                            $49,652.00                  $49,652.00
                                                            (see instructions)



  3.2     Make:       Jeep                              Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Grand Cherokee                       Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2018                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           32,500            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another


                                                           Check if this is community property                            $21,504.00                  $21,504.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
           Case 24-11836-amc                        Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                                     Desc Main
                                                                 Document      Page 11 of 70
Debtor 1       Daniel James Carroll                                                                                Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>          $71,156.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Couch, end tables, lamps, coffee table, dining rm table & chairs,
                                   microwave, beds, chest drawers, night tables, grill.                                                                    $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   TV, laptop, printer, iPad, cell phone                                                                                   $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                                   Calloway golf clubs - 15 years old                                                                                        $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                                   Glock 19                                                                                                                  $300.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                   Used mens clothes                                                                                                         $100.00

Official Form 106A/B                                                  Schedule A/B: Property                                                                    page 2
           Case 24-11836-amc                                     Doc 1             Filed 05/30/24 Entered 05/30/24 10:12:39                          Desc Main
                                                                                  Document      Page 12 of 70
Debtor 1        Daniel James Carroll                                                                                        Case number (if known)


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Wedding ring, watch                                                                                                      $600.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          2 cats                                                                                                                      $0.02


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $3,600.02


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Savings x348                            Members 1st Federal Credit Union                                    $45.87



                                            17.2.       Checking x5429                          TD Bank                                                            $164.06



                                            17.3.       Checking                                Republic Bank                                                    $1,200.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
           Case 24-11836-amc                 Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                        Document      Page 13 of 70
Debtor 1       Daniel James Carroll                                                                Case number (if known)


                                  Bulldog Real Estate Properties LLC                                                %                         $0.00


                                  Laurel Property Holdings LLC - 58 Laurae Circle,
                                  Malvern was sold at sheriff sale by Temple View
                                  Capital in April 2024.                                                  100       %                         $0.00


                                  Louisiana Holdings LLC - 2016 N. Leithgow St.
                                  Phila 19134 - sold at sheriff sale early 2024                           50        %                         $0.00


                                  Modern Properties Solutions LLC                                         100       %                         $0.00


                                  Modern Real Estate LLC                                                  90        %                         $0.00


                                  Nittany Property Holdings LLC - never used; Jon
                                  Miller co-owner; no assets                                              50        %                         $0.00


                                  Philadelphia Renovations LLC                                            100       %                         $0.00


                                  Pickle Factory LLC - co-owner is Bulldog Real
                                  Estate Properties                                                       50        %                         $0.00


                                  Red House Management LLC                                                100       %                         $0.00


                                  FB Wesleyan - Joseph Spina 25%; Jack McDavid
                                  25%
                                  $250,000 escrow in Philadelphia                                         50        %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                               Rental deposit                    Landlord, Nina D'Orio                                                    $3,800.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............    Issuer name and description.


Official Form 106A/B                                        Schedule A/B: Property                                                            page 4
           Case 24-11836-amc                  Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                         Document      Page 14 of 70
Debtor 1       Daniel James Carroll                                                                  Case number (if known)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

                                   Lincoln Financil Group term life
                                   insurance, death benefit $1,500,000.00
                                   Policy #3616                                             Maryanne Carroll- wife                                      $0.00


                                   Lincoln Financil Group Term life
                                   insurance, death benefit $1,000,000.00
                                   Policy #8441                                             Maryanne Carroll - wife                                     $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5
            Case 24-11836-amc                             Doc 1          Filed 05/30/24 Entered 05/30/24 10:12:39                                             Desc Main
                                                                        Document      Page 15 of 70
Debtor 1        Daniel James Carroll                                                                                            Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
       Yes. Describe each claim.........

                                                         Debtor v FB Weslayen Phila 2303-01203 Dispute over
                                                         $250,000.00 held in escrow and conversion of funds.                                                         Unknown


                                                         Debtor and Modern Real Estate v Paul Peters; debtor is
                                                         represented by Lida Bonner in Philadelphia proceeding for an
                                                         errors and ommisson claim for failure to file appeal in case of
                                                         Todd Joseph v debtor.                                                                                       Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................        $5,209.93


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                              $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                      page 6
             Case 24-11836-amc                               Doc 1           Filed 05/30/24 Entered 05/30/24 10:12:39                                               Desc Main
                                                                            Document      Page 16 of 70
Debtor 1         Daniel James Carroll                                                                                                  Case number (if known)

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                    $0.00
56. Part 2: Total vehicles, line 5                                                                           $71,156.00
57. Part 3: Total personal and household items, line 15                                                       $3,600.02
58. Part 4: Total financial assets, line 36                                                                   $5,209.93
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $79,965.95              Copy personal property total         $79,965.95

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $79,965.95




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 7
              Case 24-11836-amc                 Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                              Desc Main
                                                           Document      Page 17 of 70
Fill in this information to identify your case:

Debtor 1               Daniel James Carroll
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2019 Ford F250 43,353 miles                              $49,652.00                                 $4,450.00     11 U.S.C. § 522(d)(2)
     Line from Schedule A/B: 3.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     2019 Ford F250 43,353 miles                              $49,652.00                                 $5,208.87     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 3.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Couch, end tables, lamps, coffee                          $1,500.00                                 $1,500.00     11 U.S.C. § 522(d)(3)
     table, dining rm table & chairs,
     microwave, beds, chest drawers,                                               100% of fair market value, up to
     night tables, grill.                                                          any applicable statutory limit
     Line from Schedule A/B: 6.1

     TV, laptop, printer, iPad, cell phone                     $1,000.00                                 $1,000.00     11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Calloway golf clubs - 15 years old                            $100.00                                 $100.00     11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 9.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 24-11836-amc                   Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                        Document      Page 18 of 70
Debtor 1    Daniel James Carroll                                                               Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Glock 19                                                   $300.00                                   $300.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 10.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Used mens clothes                                          $100.00                                   $100.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Wedding ring, watch                                        $600.00                                   $600.00        11 U.S.C. § 522(d)(4)
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    2 cats                                                        $0.02                                     $0.02       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 13.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings x348: Members 1st Federal                           $45.87                                    $45.87        11 U.S.C. § 522(d)(5)
    Credit Union
    Line from Schedule A/B: 17.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking x5429: TD Bank                                    $164.06                                   $164.06        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Republic Bank                                 $1,200.00                                  $1,200.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rental deposit: Landlord, Nina D'Orio                   $3,800.00                                  $3,800.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 22.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
              Case 24-11836-amc                      Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                                      Desc Main
                                                                  Document      Page 19 of 70
Fill in this information to identify your case:

Debtor 1                   Daniel James Carroll
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Capital One Auto Finance
2.1                                              Describe the property that secures the claim:                 $39,993.13               $49,652.00                     $0.00
        (CODB)
        Creditor's Name                          2019 Ford F250 43,353 miles

        attn: Bankruptcy Dept
                                                 As of the date you file, the claim is: Check all that
        7933 Preston Road                        apply.
        Plano, TX 75024                              Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Automobile loan
      community debt

Date debt was incurred          7/2021                    Last 4 digits of account number        0245




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
             Case 24-11836-amc                          Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                                     Document      Page 20 of 70
Debtor 1 Daniel James Carroll                                                                                Case number (if known)
              First Name                  Middle Name                      Last Name


        Members 1st Federal
2.2                                                                                                                 $20,573.89           $21,504.00            $0.00
        Credit Union                               Describe the property that secures the claim:
        Creditor's Name                            2018 Jeep Grand Cherokee 32,500
                                                   miles
        attn: Bankruptcy Dept
                                                   As of the date you file, the claim is: Check all that
        5000 Market Place Way                      apply.
        Enola, PA 17025                                 Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Automobile loan
      community debt

Date debt was incurred          11/2018                     Last 4 digits of account number         x348


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $60,567.02
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $60,567.02

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
              Case 24-11836-amc                        Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                         Desc Main
                                                                  Document      Page 21 of 70
Fill in this information to identify your case:

Debtor 1                     Daniel James Carroll
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number         8459            $422,183.52        $422,183.52                    $0.00
             Priority Creditor's Name
             Centralized Insolvency Operation                    When was the debt incurred?             2015-2021
             PO Box 7346
             Philadelphia, PA 19101-7346
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Income taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 14
                                                                                                              30258
            Case 24-11836-amc                         Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                                             Desc Main
                                                                   Document      Page 22 of 70
Debtor 1 Daniel James Carroll                                                                             Case number (if known)

           Pennsylvania Department of
2.2        Revenue                                                Last 4 digits of account number       8459             $197,690.64              $11,092.89           $186,597.75
           Priority Creditor's Name
           Bankruptcy Division                                    When was the debt incurred?           various
           P.O. Box 280946
           Harrisburg, PA 17128-0946
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          personal income taxes and business taxes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        1912 Club                                                 Last 4 digits of account number                                                                     $3,647.13
           Nonpriority Creditor's Name
           c/o Caroline McCusker                                     When was the debt incurred?             2022-2023
           888 Plymouth Road
           Plymouth Meeting, PA 19462
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Club dues and usage




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 23 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.2      American Arbitration Association                    Last 4 digits of account number       2959                                                Unknown
         Nonpriority Creditor's Name
         Southeast Case Management                           When was the debt incurred?           8/8/22
         Center
         2200 Century parkway, Suite 300
         Atlanta, GA 30345
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3      Bill Nicholson                                      Last 4 digits of account number                                                          $20,000.00
         Nonpriority Creditor's Name
         3018 Walker Lane                                    When was the debt incurred?           2023
         Norristown, PA 19403
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4      Blue Water Investments, LLC                         Last 4 digits of account number       2023                                              $138,529.95
         Nonpriority Creditor's Name
         35179 Seaport Loop                                  When was the debt incurred?
         Lewes, DE 19958
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 24 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.5      Capital One                                         Last 4 digits of account number       2415                                               $12,241.95
         Nonpriority Creditor's Name
         Bankruptcy Claims                                   When was the debt incurred?           2023
         P.O. Box 30285
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card


         City of Philadelphia Dept. of
4.6      Revenue                                             Last 4 digits of account number                                                          $60,000.00
         Nonpriority Creditor's Name
         P.O. Box 1630                                       When was the debt incurred?
         Philadelphia, PA 19105-1630
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.7      Crowcopia, LLC                                      Last 4 digits of account number                                                         $118,381.13
         Nonpriority Creditor's Name
         42 East Baltimore Ave.                              When was the debt incurred?           2019
         Lansdowne, PA 19050
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 25 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.8      Dalin Funding LP                                    Last 4 digits of account number                                                         $249,991.94
         Nonpriority Creditor's Name
         1801 N. American Street, Suite 2A                   When was the debt incurred?           8/21/23 & 3/2421
         Philadelphia, PA 19122
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 judgment in Phila county; 1612 Parrish St
                                                                                 19130 was taken back by creditor lender
             Yes                                                Other. Specify   and a deficiency owed


4.9      David Sochin                                        Last 4 digits of account number                                                         $212,000.00
         Nonpriority Creditor's Name
         14 Foxcroft Way                                     When was the debt incurred?           11/8/23
         Mount Laurel, NJ 08054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Personal promissory note added to support
                                                                                 existing oblitgation of Modern Properties
             Yes                                                Other. Specify   Solutions debt existing from 2021.


4.1
0        DHM Law Group                                       Last 4 digits of account number                                                           $6,586.00
         Nonpriority Creditor's Name
         1405 Stone Ridge Road                               When was the debt incurred?           2023
         Sinking Spring, PA 19608
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 26 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.1
1        FB Wesleyan, LLC                                    Last 4 digits of account number                                                                $0.00
         Nonpriority Creditor's Name
         c/o Justin Kirk                                     When was the debt incurred?
         1500 JFK Blvd.
         Suite 630
         Philadelphia, PA 19102
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
2        Frank Lamb                                          Last 4 digits of account number                                                           $1,000.00
         Nonpriority Creditor's Name
         21 Mays Landing Road                                When was the debt incurred?
         Somers Point, NJ 08244
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   preparation of 2021 tax returns.


4.1
3        Greg Miller                                         Last 4 digits of account number                                                         $100,000.00
         Nonpriority Creditor's Name
         601 Foxcroft Ave                                    When was the debt incurred?
         Elkins Park, PA 19027
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 27 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.1
4        John Jankowski                                      Last 4 digits of account number                                                          $64,000.00
         Nonpriority Creditor's Name
         461 Hildebeitel Road                                When was the debt incurred?           judgment entered 2/9/24
         Collegeville, PA 19426
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Loan to Modern Properties was not
             Yes                                                Other. Specify   defended


4.1
5        Legacy Financial                                    Last 4 digits of account number                                                          $93,000.00
         Nonpriority Creditor's Name
         45 E City Ave suite 372                             When was the debt incurred?
         Bala Cynwyd, PA 19004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
6        Matt Fabrizio                                       Last 4 digits of account number                                                         $115,000.00
         Nonpriority Creditor's Name
         147 Exeter Rd                                       When was the debt incurred?           Feb 2019
         Devon, PA 19333
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 28 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.1
7        Meenan Oil                                          Last 4 digits of account number       3742                                                $2,553.86
         Nonpriority Creditor's Name
         PO Box 580                                          When was the debt incurred?           2019-2024
         Levittown, PA 19058
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Heating fuel


4.1
8        Members 1st Fcu                                     Last 4 digits of account number       8492                                               $10,240.00
         Nonpriority Creditor's Name
                                                                                                   Opened 03/19 Last Active
         PO Box 8893                                         When was the debt incurred?           02/24
         Camp Hill, PA 17001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
9        PATLive                                             Last 4 digits of account number       7395                                                 $158.75
         Nonpriority Creditor's Name
         Accounts Recievable                                 When was the debt incurred?           2023
         18117 Biscayne Blvd., #2635
         North Miami Beach, FL 33160
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 29 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.2
0        PECO                                                Last 4 digits of account number                                                           $4,000.00
         Nonpriority Creditor's Name
         Bankruptcy Group                                    When was the debt incurred?
         2301 Market Street, N3-1
         Philadelphia, PA 19103
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility bill


4.2
1        Penn Community Bank                                 Last 4 digits of account number                                                          $91,718.20
         Nonpriority Creditor's Name
         219 S. 9th Street                                   When was the debt incurred?           2022
         Perkasie, PA 18944
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   judgment


4.2
2        Precis Enginnering +Architect                       Last 4 digits of account number                                                          $13,000.00
         Nonpriority Creditor's Name
         201 S. Maple Ave.                                   When was the debt incurred?           2023
         Suite 200
         Ambler, PA 19002
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Architectural service3




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 30 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.2
3        Sarah Cadman                                        Last 4 digits of account number                                                          $15,000.00
         Nonpriority Creditor's Name
         Cadman Business Assoc                               When was the debt incurred?           2023
         200 N. 16th St.
         Unit 515
         Philadelphia, PA 19102
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
4        Sequel Investments                                  Last 4 digits of account number                                                         $465,063.61
         Nonpriority Creditor's Name
         250 Sheets Lane                                     When was the debt incurred?           2023
         Middletown, DE 19709
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
5        Small Business Adminstration                        Last 4 digits of account number                                                        $2,000,000.00
         Nonpriority Creditor's Name
         14925 Kingsport Road                                When was the debt incurred?
         Fort Worth, TX 76155-2243
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 14
           Case 24-11836-amc                      Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                           Document      Page 31 of 70
Debtor 1 Daniel James Carroll                                                                    Case number (if known)

4.2
6        Spina & Company, PLLC                               Last 4 digits of account number                                                           $6,800.00
         Nonpriority Creditor's Name
         2220 Fairmont Avenue                                When was the debt incurred?
         Philadelphia, PA 19130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
7        Street Road Partners LLC, Series 3                  Last 4 digits of account number                                                           Unknown
         Nonpriority Creditor's Name
         416 E. Street Road                                  When was the debt incurred?
         Feasterville Trevose, PA 19053
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
8        Stuart Oram                                         Last 4 digits of account number                                                         $125,000.00
         Nonpriority Creditor's Name
         794 MCKENDIMEN ROAD                                 When was the debt incurred?           July 27, 2023
         Vincentown, NJ 08088
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 14
           Case 24-11836-amc                      Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                            Desc Main
                                                             Document      Page 32 of 70
Debtor 1 Daniel James Carroll                                                                      Case number (if known)

4.2
9         Sue May                                              Last 4 digits of account number                                                           $40,000.00
          Nonpriority Creditor's Name
          1597 Ulster Lane                                     When was the debt incurred?
          West Chester, PA 19380
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify


4.3
0         Todd Joseph                                          Last 4 digits of account number                                                         $635,000.00
          Nonpriority Creditor's Name
          713 Broad Acres Road                                 When was the debt incurred?           6/13/22
          Narberth, PA 19072
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify


4.3
1         VWA Advisors LLC                                     Last 4 digits of account number                                                         $356,854.00
          Nonpriority Creditor's Name
          attn: Michael Zaslaz                                 When was the debt incurred?           5/22/23
          45 Broadway
          Suite 3120
          New York, NY 10006
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify


Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 12 of 14
           Case 24-11836-amc                    Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                          Desc Main
                                                            Document      Page 33 of 70
Debtor 1 Daniel James Carroll                                                                      Case number (if known)

  have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
  notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
ARIEL BOUSKILA                                          Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
1545 US 202                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Suite 101
Pomona, NY 10970
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Beth Weisser                                            Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
980 Jolly Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Suite 110
Blue Bell, PA 19422
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Daniel Haggerty                                         Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
123 S. Broad Street, Suite 1670                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19109
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
David H. McLain                                         Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attorney at Law                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
1405 Stone Ridge Road
Reading, PA 19608
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
David P Hathaway, Attorney                              Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
420 South Orange Ave, Suite 700                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32801
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Eric Carroll                                            Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Hill Wallack, LLP                                       Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
1000 Floral Vale Blvd                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Suite 300
attn: Michael Shavel, attorney
Morrisville, PA 19067
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Jennifer Popelack                                       Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attorney at Law                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
100 N. Independence Mall West
Suite 5A NW
Philadelphia, PA 19106
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Joseph B. Silverstein                                   Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
215 S. Broad St.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19107
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Megan Broomall, Attorney                                Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 13 of 14
           Case 24-11836-amc                         Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                          Desc Main
                                                                 Document      Page 34 of 70
Debtor 1 Daniel James Carroll                                                                           Case number (if known)

Megan Broomall, Attorney                                     Line 4.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Rogers Counsel                                               Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
26 E. Athens Ave                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Ardmore, PA 19003
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Spina & Company, PLLC                                        Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
2220 Fairmont Avenue                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19130
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
The Law Offices of Jon Taylor                                Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
1617 JFK Blvd., Suite 1888                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19103
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                  619,874.16
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                  619,874.16

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                4,959,766.52

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                4,959,766.52




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 14 of 14
               Case 24-11836-amc                       Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39                          Desc Main
                                                                    Document      Page 35 of 70
Fill in this information to identify your case:

Debtor 1                  Daniel James Carroll
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
              Case 24-11836-amc                          Doc 1         Filed 05/30/24 Entered 05/30/24 10:12:39              Desc Main
                                                                      Document      Page 36 of 70
Fill in this information to identify your case:

Debtor 1                   Daniel James Carroll
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Bulldog Real Estate LLC                                                               Schedule D, line
                                                                                                     Schedule E/F, line    4.31
                                                                                                     Schedule G
                                                                                                   VWA Advisors LLC



   3.2         Bulldog Real Estate Properties LLC                                                    Schedule D, line
                                                                                                     Schedule E/F, line    4.31
                                                                                                     Schedule G
                                                                                                   VWA Advisors LLC



   3.3         Bulldog Real Estate Properties LLC                                                    Schedule D, line
                                                                                                     Schedule E/F, line    4.8
                                                                                                     Schedule G
                                                                                                   Dalin Funding LP




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 4
         Case 24-11836-amc             Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39              Desc Main
                                                  Document      Page 37 of 70
Debtor 1 Daniel James Carroll                                             Case number (if known)


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt
                                                                               Check all schedules that apply:
  3.4    Bulldog Real Estate Properties,LLC                                       Schedule D, line
                                                                                  Schedule E/F, line 4.27
                                                                                  Schedule G
                                                                               Street Road Partners LLC, Series 3



  3.5    Louisiana Holdings LLC                                                  Schedule D, line
                                                                                 Schedule E/F, line    4.10
                                                                                 Schedule G
                                                                               DHM Law Group



  3.6    Louisiana Holdings LLC                                                  Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC



  3.7    Maryanne Carroll                                                        Schedule D, line
                                                                                 Schedule E/F, line    4.5
                                                                                 Schedule G
                                                                               Capital One



  3.8    Maryanne Carroll                                                        Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC



  3.9    MaryAnne Carroll                                                        Schedule D, line
                                                                                 Schedule E/F, line 4.21
                                                                                 Schedule G
                                                                               Penn Community Bank



  3.10   Maryanne Carroll                                                        Schedule D, line
                                                                                 Schedule E/F, line 4.25
                                                                                 Schedule G
                                                                               Small Business Adminstration



  3.11   Modern Property Investments LLC                                         Schedule D, line
                                                                                 Schedule E/F, line    4.10
                                                                                 Schedule G
                                                                               DHM Law Group




Official Form 106H                                         Schedule H: Your Codebtors                                Page 2 of 4
         Case 24-11836-amc             Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39              Desc Main
                                                  Document      Page 38 of 70
Debtor 1 Daniel James Carroll                                             Case number (if known)


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt
                                                                               Check all schedules that apply:
  3.12   Modern Property Solutions LLC                                           Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC



  3.13   Modern Property Solutions LLC                                           Schedule D, line
                                                                                 Schedule E/F, line    4.9
                                                                                 Schedule G
                                                                               David Sochin



  3.14   Modern Real Estate                                                      Schedule D, line
                                                                                 Schedule E/F, line    4.13
                                                                                 Schedule G
                                                                               Greg Miller



  3.15   Modern Real Estate                                                       Schedule D, line
                                                                                  Schedule E/F, line  4.6
                                                                                  Schedule G
                                                                               City of Philadelphia Dept. of Revenue



  3.16   Modern Real Estate, LLC                                                 Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC



  3.17   Modern Real Estate, LLC                                                 Schedule D, line
                                                                                 Schedule E/F, line    4.7
                                                                                 Schedule G
                                                                               Crowcopia, LLC



  3.18   Nittany Property Holdings LLC                                           Schedule D, line
                                                                                 Schedule E/F, line    4.10
                                                                                 Schedule G
                                                                               DHM Law Group



  3.19   Philadelphia Renovations LLC                                            Schedule D, line
                                                                                 Schedule E/F, line    4.10
                                                                                 Schedule G
                                                                               DHM Law Group




Official Form 106H                                         Schedule H: Your Codebtors                                Page 3 of 4
         Case 24-11836-amc             Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39              Desc Main
                                                  Document      Page 39 of 70
Debtor 1 Daniel James Carroll                                             Case number (if known)


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt
                                                                               Check all schedules that apply:
  3.20   Philadelphia Renovations LLC                                            Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC



  3.21   Philadelphia Renovations LLC                                             Schedule D, line
                                                                                  Schedule E/F, line 4.27
                                                                                  Schedule G
                                                                               Street Road Partners LLC, Series 3



  3.22   Red House Management, LLC                                               Schedule D, line
                                                                                 Schedule E/F, line    4.24
                                                                                 Schedule G
                                                                               Sequel Investments



  3.23   Red House Management, LLC                                               Schedule D, line
                                                                                 Schedule E/F, line  4.2
                                                                                 Schedule G
                                                                               American Arbitration Association



  3.24   Red House Management, LLC                                               Schedule D, line
                                                                                 Schedule E/F, line    4.10
                                                                                 Schedule G
                                                                               DHM Law Group



  3.25   Red House Management, LLC                                               Schedule D, line
                                                                                 Schedule E/F, line    4.5
                                                                                 Schedule G
                                                                               Capital One



  3.26   Red House Management, LLC                                               Schedule D, line
                                                                                 Schedule E/F, line    4.31
                                                                                 Schedule G
                                                                               VWA Advisors LLC




Official Form 106H                                         Schedule H: Your Codebtors                                Page 4 of 4
              Case 24-11836-amc                   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39                              Desc Main
                                                          Document      Page 40 of 70


Fill in this information to identify your case:

Debtor 1                      Daniel James Carroll

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF PENNSYLVANIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Self Employed - RE Investor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       840 First Avenue

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                   King of Prussia, PA 19406

                                             How long employed there?         8 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        8,867.00      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      8,867.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
            Case 24-11836-amc               Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                       Document      Page 41 of 70

Debtor 1    Daniel James Carroll                                                                  Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      8,867.00       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               0.00
      5e.    Insurance                                                                     5e.        $              0.00   $               0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00   $               0.00
      5g.    Union dues                                                                    5g.        $              0.00   $               0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          8,867.00       $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
      8e. Social Security                                                                  8e.        $              0.00   $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              8,867.00 + $           0.00 = $           8,867.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $           8,867.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Upon petition filing debtor anticipates utilizing his fresh start by generating leads for businesses.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
         Case 24-11836-amc                       Doc 1      Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                           Document      Page 42 of 70


Fill in this information to identify your case:

Debtor 1                 Daniel James Carroll                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA                                           MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             8                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            4,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
        Case 24-11836-amc                      Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                       Desc Main
                                                           Document      Page 43 of 70

Debtor 1     Daniel James Carroll                                                                      Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                110.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                250.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,100.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                 75.00
11.   Medical and dental expenses                                                            11. $                                                170.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 250.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  437.02
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  140.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  960.75
      17b. Car payments for Vehicle 2                                                      17b. $                                                  450.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,792.77
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,792.77
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               8,867.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,792.77

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  74.23

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 24-11836-amc               Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                            Desc Main
                                                         Document      Page 44 of 70




Fill in this information to identify your case:

Debtor 1                    Daniel James Carroll
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:       EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Daniel James Carroll                                           X
             Daniel James Carroll                                               Signature of Debtor 2
             Signature of Debtor 1

             Date       May 30, 2024                                            Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
              Case 24-11836-amc                   Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                             Document      Page 45 of 70



Fill in this information to identify your case:

Debtor 1                  Daniel James Carroll
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $38,481.00            Wages, commissions,
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business

For last calendar year:                           Wages, commissions,                      $97,320.00            Wages, commissions,
(January 1 to December 31, 2023 )              bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
           Case 24-11836-amc                      Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                              Document      Page 46 of 70
Debtor 1     Daniel James Carroll                                                                      Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For the calendar year before that:                 Wages, commissions,                     $112,120.00            Wages, commissions,
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                           Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
           Case 24-11836-amc                  Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                         Document      Page 47 of 70
Debtor 1     Daniel James Carroll                                                                 Case number (if known)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                            paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                       Nature of the case          Court or agency                         Status of the case
      Case number
      Cynthia Rodgers v Daniel James                   Judgment                    Philadelphia Court of                       Pending
      Carroll et al                                    entered;                    Common Pleas                                On appeal
      2101-00314                                       concluded by                Office of the Prothonotary
                                                                                                                               Concluded
                                                       payment of                  City Hall
                                                       $60,000 to plaintiff        Broad & Market Street
                                                       on later in 2021.           Philadelphia, PA 19107

      FB Wesleyan v. Daniel Carroll                    Contract - case             Philadelphia Court of                       Pending
      2101-00564                                       was dismissed               Common Pleas                                On appeal
                                                                                   Office of the Prothonotary
                                                                                                                               Concluded
                                                                                   City Hall
                                                                                   Broad & Market Street
                                                                                   Philadelphia, PA 19107

      Todd Joseph v. Daniel Carroll                    Confession of               Philadelphia Court of                       Pending
      2102-00753                                       judgment                    Common Pleas                                On appeal
                                                                                   Office of the Prothonotary
                                                                                                                               Concluded
                                                                                   City Hall
                                                                                   Broad & Market Street
                                                                                                                           Judgment entered 6/13/22
                                                                                   Philadelphia, PA 19107
                                                                                                                           $635,000.00

      Dalin Funding LP v Daniel Carroll                Confession of               Philadelphia Court of                       Pending
      2103-02531                                       judgment                    Common Pleas                                On appeal
                                                                                   Office of the Prothonotary
                                                                                                                               Concluded
                                                                                   City Hall
                                                                                   Broad & Market Street
                                                                                                                           Jdgmnt filed 3/24/21
                                                                                   Philadelphia, PA 19107
                                                                                                                           $431,672.33

      Dalin Funding LP v Daniel Carroll                Contract                    Philadelphia Court of                       Pending
      et al                                                                        Common Pleas                                On appeal
      2106-01818                                                                   Office of the Prothonotary
                                                                                                                               Concluded
                                                                                   City Hall
                                                                                   Broad & Market Street
                                                                                                                           Jdgmnt entered 8/21/23
                                                                                   Philadelphia, PA 19107
                                                                                                                           $249,991.94.




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
           Case 24-11836-amc            Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                    Document      Page 48 of 70
Debtor 1     Daniel James Carroll                                                            Case number (if known)



      Case title                                 Nature of the case           Court or agency                         Status of the case
      Case number
      Daniel Carroll v. FB Wesleyan LLC          contract: There is           Philadelphia Court of                      Pending
      et al                                      $250,000 in                  Common Pleas                               On appeal
      2303-01203                                 escrow being                 Office of the Prothonotary
                                                                                                                         Concluded
                                                 contested; in                City Hall
                                                 addition, debtor             Broad & Market Street
                                                                                                                      Settlement Conference
                                                 has a claim for              Philadelphia, PA 19107
                                                 one-half of $1.1M
                                                 which debtor
                                                 asserts was taken
                                                 from FB Wesleyan
                                                 accounts by
                                                 defendants.

      PA Dept of Revenue v. Daniel J.            Municipal Lien               Philadelphia Court of                      Pending
      Carroll et al                                                           Common Pleas                               On appeal
      2309-01749                                                              Office of the Prothonotary
                                                                                                                         Concluded
                                                                              City Hall
                                                                              Broad & Market Street
                                                                                                                      $11,092.89
                                                                              Philadelphia, PA 19107

      Daniel Carroll et al v. Peters et al       Malpractice                  Philadelphia Court of                      Pending
      2311-02221                                                              Common Pleas                               On appeal
                                                                              Office of the Prothonotary
                                                                                                                         Concluded
                                                                              City Hall
                                                                              Broad & Market Street
                                                                                                                      Case Mgmt Conference
                                                                              Philadelphia, PA 19107

      Commonwealth of Pennsylvania               Municipal Lien               Chester County Justice                     Pending
      Department of Revenue v Daniel                                          Center                                     On appeal
      Carroll et al                                                           Office of the Prothonotary
                                                                                                                         Concluded
      2020-02337-LN                                                           201 West Market Street,
                                                                              Suite 1425
                                                                                                                      Jdgmnt entered 3/4/20
                                                                              P.O. Box 2746
                                                                                                                      $10,359.90
                                                                              West Chester, PA
                                                                              19380-0989

      Commonwealth of Pennsylvania               Revenue Lien                 Chester County Justice                     Pending
      Department of Revenue v Daniel                                          Center                                     On appeal
      Carroll et al                                                           Office of the Prothonotary
                                                                                                                         Concluded
      2021-05724-LN                                                           201 West Market Street,
                                                                              Suite 1425
                                                                                                                      Jdgmnt entered 7/21/21
                                                                              P.O. Box 2746
                                                                                                                      $11,656.91
                                                                              West Chester, PA
                                                                              19380-0989

      Commonwealth of Pennsylvania               Revenue Lien                 Chester County Justice                     Pending
      Department of Revenue v Daniel                                          Center                                     On appeal
      Carroll et al                                                           Office of the Prothonotary
                                                                                                                         Concluded
      2022-02655-LN                                                           201 West Market Street,
                                                                              Suite 1425
                                                                                                                      Jdgmnt entered 4/21/22
                                                                              P.O. Box 2746
                                                                                                                      $9,169.03
                                                                              West Chester, PA
                                                                              19380-0989




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
           Case 24-11836-amc           Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                 Desc Main
                                                  Document      Page 49 of 70
Debtor 1     Daniel James Carroll                                                          Case number (if known)



      Case title                               Nature of the case           Court or agency                         Status of the case
      Case number
      Commonwealth of Pennsylvania             Revenue Lien                 Chester County Justice                     Pending
      Department of Revenue v Daniel                                        Center                                     On appeal
      Carroll et al                                                         Office of the Prothonotary
                                                                                                                       Concluded
      2022-10256-LN                                                         201 West Market Street,
                                                                            Suite 1425
                                                                                                                    Jdgmnt entered 12/27/22
                                                                            P.O. Box 2746
                                                                                                                    $10,379.94
                                                                            West Chester, PA
                                                                            19380-0989

      Internal Revenue Service v Daniel        Tax Lien                     Delaware County                            Pending
      J. Carroll et al                                                      Courthouse                                 On appeal
      CV-2020-060335                                                        Office of Judicial Support
                                                                                                                       Concluded
                                                                            201 W. Front Street
                                                                            Media, PA 19063
                                                                                                                    NFTL $52,434.93 on
                                                                                                                    02-11-2020

      Internal Revenue Service v Daniel        Tax Lien                     Delaware County                            Pending
      J. Carroll et al                                                      Courthouse                                 On appeal
      CV-2019-067955                                                        Office of Judicial Support
                                                                                                                       Concluded
                                                                            201 W. Front Street
                                                                            Media, PA 19063
                                                                                                                    JNFTL $92,597.04 on
                                                                                                                    10-18-2019

      John Jankowski v Dan Carroll &           Civil                        Montgomery County Court                    Pending
      Modern Real Estate                                                    of Common Pleas                            On appeal
      2023-24694                                                            P.O. Box 311
                                                                                                                       Concluded
                                                                            Norristown, PA 19404
                                                                                                                    Jdgmnt entered 2/9/24
                                                                                                                    $64,056.01

      Stuart Oram v Daniel Carroll             Civil                        Montgomery County Court                    Pending
      2023-18760                                                            of Common Pleas                            On appeal
                                                                            P.O. Box 311
                                                                                                                       Concluded
                                                                            Norristown, PA 19404

      Todd Jospeh v Daniel Carroll             Certification of             Montgomery County Court                    Pending
      2023-24285                               judgment                     of Common Pleas                            On appeal
                                                                            P.O. Box 311
                                                                                                                       Concluded
                                                                            Norristown, PA 19404
                                                                                                                    Jgdmt entered 11/1/2023
                                                                                                                    $574,249.00

      Legacy Capital; Wealth Fund LLC v        Equity - Real                Philadelphia Court of                      Pending
      Daniel Carroll et al                     Estate                       Common Pleas                               On appeal
      2003-00375                                                            Office of the Prothonotary
                                                                                                                       Concluded
                                                                            City Hall
                                                                            Broad & Market Street
                                                                            Philadelphia, PA 19107

      Legacy Capital Wealth Fund v             Equity - Real                Philadelphia Court of                      Pending
      Daniel Carroll et al                     Estate                       Common Pleas                               On appeal
      2003-00086                                                            Office of the Prothonotary
                                                                                                                       Concluded
                                                                            City Hall
                                                                            Broad & Market Street
                                                                            Philadelphia, PA 19107



Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
           Case 24-11836-amc                     Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                  Desc Main
                                                            Document      Page 50 of 70
Debtor 1     Daniel James Carroll                                                                    Case number (if known)



      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Cottman Check Cashing vs DAN                       SMALL CLAIMS                 MUNICIPAL COURT - CIVIL                      Pending
      CARROLL                                            JUDGMENT                     DIVISION                                     On appeal
      SC2303224980
                                                                                                                                   Concluded

                                                                                                                               4,000.00 paid July 2023

      Street Road Partners LLC , Series 3                Civil                        Philadelphia Court of                        Pending
      v Daniel Carroll, et al                                                         Common Pleas                                 On appeal
      2402-01358                                                                      Office of the Prothonotary
                                                                                                                                   Concluded
                                                                                      City Hall
                                                                                      Broad & Market Street
                                                                                                                               scheduling order entered
                                                                                      Philadelphia, PA 19107
                                                                                                                               4-18-24

      Penn Community Bank                                contract                     Bucks County Court of                        Pending
      v                                                                               Common Pleas                                 On appeal
      Dan Carroll et al.                                                              Attn: Prothonotary
                                                                                                                                   Concluded
      2022-06531                                                                      55 E. Court Street
                                                                                      Doylestown, PA 18901
                                                                                                                               judgment for $91,718.20

      Crowpedia                                          confession of                Philadelphia Court of                        Pending
      v                                                  judgment                     Common Pleas                                 On appeal
      Dan Carroll, et al.                                                             Office of the Prothonotary
                                                                                                                                   Concluded
      2403-02425                                                                      City Hall
                                                                                      Broad & Market Street
                                                                                      Philadelphia, PA 19107


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Lycoming County Tax Claim                          Lycoming County CCP No #CV-23-00932                            1/9/2024                     Unknown
      Bureau
      835 West Fourth Street                             various proprties
      Williamsport, PA 17701
                                                             Property was repossessed.
                                                             Property was foreclosed.
                                                             Property was garnished.
                                                             Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes


Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
           Case 24-11836-amc                         Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                     Desc Main
                                                                Document      Page 51 of 70
Debtor 1     Daniel James Carroll                                                                        Case number (if known)



Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                  Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                       Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                              lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      William D. Schroeder, Jr.                                                                                             February and               $8,000.00
      920 Lenmar Drive                                                                                                      March 2024
      Blue Bell, PA 19422
      schroeder@jrlaw.org


      Jake Griffin                                                 Debtor's plaintiff counsel in suit vs FB                 January &                  $9,000.00
      PO Box 571                                                   Weslayn collection of $250,000.00 in                     February 2023
      Lafayette Hill, PA 19444                                     Philadlelphia 2303-01203


      Lida Bonner & Neil Hilkert                                   $2,500 for defense of Stuart Oram suit                   July and                   $5,000.00
      600 W. Germantown Pike                                       $2,500 for suit against Paul Peters                      August 2023
      Suite 400
      Plymouth Meeting, PA 19462




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
           Case 24-11836-amc                         Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                     Desc Main
                                                                Document      Page 52 of 70
Debtor 1      Daniel James Carroll                                                                       Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or          Date transfer was
      Address                                                      property transferred                       payments received or debts        made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                            Date Transfer was
                                                                                                                                                made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was               Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,              before closing or
      Code)                                                                                                           moved, or                           transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                    Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                 have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents                    Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                         have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
           Case 24-11836-amc                      Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                                    Desc Main
                                                              Document      Page 53 of 70
Debtor 1     Daniel James Carroll                                                                           Case number (if known)



Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                        Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                 Status of the
      Case Number                                                Name                                                                          case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 9
           Case 24-11836-amc                       Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                                Desc Main
                                                              Document      Page 54 of 70
Debtor 1     Daniel James Carroll                                                                      Case number (if known)



           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      All LLC's as listed in Schedule A/B                  Real estate investments                           EIN:         Will be provided for each entity

                                                           Joseph Spina & Co.                                From-To      various timeframes
                                                           2220 Fairmount Ave.
                                                           Phila, PA 19130
                                                           215-235-5015

                                                           more recently:
                                                           Frank Lamb
                                                           91 Mays Landing Road
                                                           Somers Point, NJ 08244
                                                           (609) 601-2670
                                                           personal and Modern Real Estate
                                                           returns - 2021


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 10
           Case 24-11836-amc              Doc 1       Filed 05/30/24 Entered 05/30/24 10:12:39                               Desc Main
                                                     Document      Page 55 of 70
Debtor 1     Daniel James Carroll                                                             Case number (if known)




Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Daniel James Carroll
Daniel James Carroll                                        Signature of Debtor 2
Signature of Debtor 1

Date     May 30, 2024                                       Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 11
              Case 24-11836-amc             Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                         Desc Main
                                                        Document      Page 56 of 70

Fill in this information to identify your case:

Debtor 1                 Daniel James Carroll
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                 Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Capital One Auto Finance (CODB)              Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       2019 Ford F250 43,353 miles                Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:                                                 debtor will continue to make payments


   Creditor's         Members 1st Federal Credit Union             Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       2018 Jeep Grand Cherokee                   Reaffirmation Agreement.
   property             32,500 miles                               Retain the property and [explain]:
   securing debt:                                                 debtor will continue to make payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                 Will the lease be assumed?


Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
           Case 24-11836-amc       Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39                           Desc Main
                                           Document      Page 57 of 70

Debtor 1    Daniel James Carroll                                                Case number (if known)


Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes

Lessor's name:                                                                                           No
Description of leased
Property:                                                                                                Yes




Official Form 108                  Statement of Intention for Individuals Filing Under Chapter 7                           page 2
           Case 24-11836-amc              Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                          Desc Main
                                                   Document      Page 58 of 70

Debtor 1     Daniel James Carroll                                                       Case number (if known)




Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Daniel James Carroll                                          X
     Daniel James Carroll                                                  Signature of Debtor 2
     Signature of Debtor 1

     Date       May 30, 2024                                           Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 3
          Case 24-11836-amc                    Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                       Desc Main
                                                           Document      Page 59 of 70

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
          Case 24-11836-amc                    Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                           Desc Main
                                                           Document      Page 60 of 70


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
          Case 24-11836-amc                    Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                          Desc Main
                                                           Document      Page 61 of 70
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
          Case 24-11836-amc                    Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                          Desc Main
                                                           Document      Page 62 of 70
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
            Case 24-11836-amc                     Doc 1        Filed 05/30/24 Entered 05/30/24 10:12:39                            Desc Main
                                                              Document      Page 63 of 70

                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re       Daniel James Carroll                                                                               Case No.
                                                                                Debtor(s)                       Chapter    7


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that compensation
      paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
      behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept        $350/hour                                  $                       0.00
             Prior to the filing of this statement I have received - retainer                              $                   8,000.00
             Balance Due                                                                                   $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor               Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor               Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render the following legal service, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtor in any dischargeability actions, motions for relief from stay or motions to dismiss;
              adversary proceedings or any contested matters. The fee does not include contesting any claims filed by
              creditors including mortgagee or tax authority claims. Trustee inquiries, responses or inquiries thereto,
              litigation, a second appearance for a 341 meeting if client fails to appear for first. Any and all appearance before
              the court. Any additional or needless work created by client to deliver reasonably requested information in a
              timely basis. Attorney fee for these matters is the prevailing rate at the time; presently $350.00 hour, paralegal
              time $100.00 per hour. Amendments to schedules or statement of financial affairs. Conversion of Bankruptcy to
              Chapter 13.
                                                                        CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:                                                                          /s/ William D. Schroeder, Jr.

                                                                                William D. Schroeder, Jr.
                                                                                920 Lenmar Drive
                                                                                Blue Bell, PA 19422
                                                                                (215) 822-2728
                                                                                schroeder@jrlaw.org




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
         Case 24-11836-amc              Doc 1     Filed 05/30/24 Entered 05/30/24 10:12:39                       Desc Main
                                                 Document      Page 64 of 70




                                              United States Bankruptcy Court
                                                 Eastern District of Pennsylvania
 In re   Daniel James Carroll                                                                  Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: May 30, 2024                                     /s/ Daniel James Carroll
                                                       Daniel James Carroll
                                                       Signature of Debtor
    Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                                Document      Page 65 of 70


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        1912 Club
                        c/o Caroline McCusker
                        888 Plymouth Road
                        Plymouth Meeting, PA 19462



                        American Arbitration Association
                        Southeast Case Management Center
                        2200 Century parkway, Suite 300
                        Atlanta, GA 30345



                        ARIEL BOUSKILA
                        1545 US 202
                        Suite 101
                        Pomona, NY 10970



                        Beth Weisser
                        980 Jolly Road
                        Suite 110
                        Blue Bell, PA 19422



                        Bill Nicholson
                        3018 Walker Lane
                        Norristown, PA 19403



                        Blue Water Investments, LLC
                        35179 Seaport Loop
                        Lewes, DE 19958



                        Capital One
                        Bankruptcy Claims
                        P.O. Box 30285
                        Salt Lake City, UT 84130-0285



                        Capital One Auto Finance (CODB)
                        attn: Bankruptcy Dept
                        7933 Preston Road
                        Plano, TX 75024
Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                            Document      Page 66 of 70



                    City of Philadelphia Dept. of Revenue
                    P.O. Box 1630
                    Philadelphia, PA 19105-1630



                    Crowcopia, LLC
                    42 East Baltimore Ave.
                    Lansdowne, PA 19050



                    Dalin Funding LP
                    1801 N. American Street, Suite 2A
                    Philadelphia, PA 19122



                    Daniel Haggerty
                    123 S. Broad Street, Suite 1670
                    Philadelphia, PA 19109



                    David H. McLain
                    Attorney at Law
                    1405 Stone Ridge Road
                    Reading, PA 19608



                    David P Hathaway, Attorney
                    420 South Orange Ave, Suite 700
                    Orlando, FL 32801



                    David Sochin
                    14 Foxcroft Way
                    Mount Laurel, NJ 08054



                    DHM Law Group
                    1405 Stone Ridge Road
                    Sinking Spring, PA 19608



                    Eric Carroll
Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                            Document      Page 67 of 70



                    FB Wesleyan, LLC
                    c/o Justin Kirk
                    1500 JFK Blvd.
                    Suite 630
                    Philadelphia, PA 19102



                    Frank Lamb
                    21 Mays Landing Road
                    Somers Point, NJ 08244



                    Greg Miller
                    601 Foxcroft Ave
                    Elkins Park, PA 19027



                    Hill Wallack, LLP
                    1000 Floral Vale Blvd
                    Suite 300
                    attn: Michael Shavel, attorney
                    Morrisville, PA 19067



                    Internal Revenue Service
                    Centralized Insolvency Operation
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    Jennifer Popelack
                    Attorney at Law
                    100 N. Independence Mall West
                    Suite 5A NW
                    Philadelphia, PA 19106



                    John Jankowski
                    461 Hildebeitel Road
                    Collegeville, PA 19426



                    Joseph B. Silverstein
                    215 S. Broad St.
                    Philadelphia, PA 19107
Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                            Document      Page 68 of 70



                    Legacy Financial
                    45 E City Ave suite 372
                    Bala Cynwyd, PA 19004



                    Matt Fabrizio
                    147 Exeter Rd
                    Devon, PA 19333



                    Meenan Oil
                    PO Box 580
                    Levittown, PA 19058



                    Megan Broomall, Attorney




                    Members 1st Fcu
                    PO Box 8893
                    Camp Hill, PA 17001



                    Members 1st Federal Credit Union
                    attn: Bankruptcy Dept
                    5000 Market Place Way
                    Enola, PA 17025



                    PATLive
                    Accounts Recievable
                    18117 Biscayne Blvd., #2635
                    North Miami Beach, FL 33160



                    PECO
                    Bankruptcy Group
                    2301 Market Street, N3-1
                    Philadelphia, PA 19103



                    Penn Community Bank
                    219 S. 9th Street
                    Perkasie, PA 18944
Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                            Document      Page 69 of 70



                    Pennsylvania Department of Revenue
                    Bankruptcy Division
                    P.O. Box 280946
                    Harrisburg, PA 17128-0946



                    Precis Enginnering +Architect
                    201 S. Maple Ave.
                    Suite 200
                    Ambler, PA 19002



                    Rogers Counsel
                    26 E. Athens Ave
                    Ardmore, PA 19003



                    Sarah Cadman
                    Cadman Business Assoc
                    200 N. 16th St.
                    Unit 515
                    Philadelphia, PA 19102



                    Sequel Investments
                    250 Sheets Lane
                    Middletown, DE 19709



                    Small Business Adminstration
                    14925 Kingsport Road
                    Fort Worth, TX 76155-2243



                    Spina & Company, PLLC
                    2220 Fairmont Avenue
                    Philadelphia, PA 19130



                    Street Road Partners LLC, Series 3
                    416 E. Street Road
                    Feasterville Trevose, PA 19053



                    Stuart Oram
                    794 MCKENDIMEN ROAD
                    Vincentown, NJ 08088
Case 24-11836-amc   Doc 1    Filed 05/30/24 Entered 05/30/24 10:12:39   Desc Main
                            Document      Page 70 of 70



                    Sue May
                    1597 Ulster Lane
                    West Chester, PA 19380



                    The Law Offices of Jon Taylor
                    1617 JFK Blvd., Suite 1888
                    Philadelphia, PA 19103



                    Todd Joseph
                    713 Broad Acres Road
                    Narberth, PA 19072



                    VWA Advisors LLC
                    attn: Michael Zaslaz
                    45 Broadway
                    Suite 3120
                    New York, NY 10006
